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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

                                                    :
Tameka Grays,                                       :
                                                    : Civil Action No.: ______
                        Plaintiff,                  :
        v.                                          :
                                                    :
Comenity LLC,                                       : DEMAND FOR JURY TRIAL
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

                                COMPLAINT & JURY DEMAND

        For this Complaint, the Plaintiff, Tameka Grays, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here, Plaintiff resides in this judicial district, and a substantial portion of the

acts giving rise to this action occurred here.

                                              PARTIES

        3.      The Plaintiff, Tameka Grays (“Plaintiff”), is an adult individual residing in

Clarkston, Michigan, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Comenity LLC (“Comenity”), is a Ohio business entity with an address

of 1300 East Ninth Street, Cleveland, Ohio 44114, and is a “person” as defined by 47 U.S.C. §

153(39).

        5.      Comenity at all times acted by and through one or more of the agents.
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                                                FACTS

        6.        Beginning during the month of October, 2013, started Comenity calling Plaintiff

in an attempt to collect a debt allegedly owed by Plaintiff.

        7.        At all times referenced herein, Comenity placed calls to Plaintiff’s cellular

telephone using an automated telephone dialer system (“ATDS” or “predictive dialer”).

        8.        When Plaintiff answered the calls from Comentiy, she would hear a few seconds

of silence, followed by being connected to a live representative.

        9.        Frustrated with the excessive amount of calls she was receiving, within the month

of December, 2013, Plaintiff waited on the line after receiving a call from Comenity to speak to a

live representative.

        10.       During their conversation, Plaintiff requested that Comenity cease calling her

cellular phone.

        11.       Despite Plaintiff’s request, Comenity continued to harass Plaintiff with ATDS

calls to her cellular phone at a rate of up to six calls on a daily basis.

                                               COUNT I

        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        12.       The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        13.       At all times mentioned herein and within the last year, Defendant called Plaintiff

on her cellular telephone using an automatic telephone dialing system (“ATDS” or “Predictive

Dialer”).

        14.       In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (FCC) defines a Predictive Dialer as “a dialing system that automatically dials
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consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

answer the phone and a [representative] will be available to take the call…” 2003 TCPA Order,

18 FCC 36 Rcd 14022. The FCC explains that if a representative in not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies

that “abandon” calls by setting “the predictive dialers to ring for a very short period of time

before disconnecting the call; in such cases, the predictive dialer does not record the call as

having been abandoned.” Id.

        15.    Defendant’s telephone systems have earmarks of a Predictive Dialer. Often times

when Plaintiff answered the phone, she was met with a period of silence before Defendant’s

telephone system would connect her to the next available representative.

        16.    Defendant’s Predictive Dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

        17.    In the event Defendant at one time had consent to contact Plaintiff on her cellular

telephone, Plaintiff revoked her consent by her demand to cease calls to her cellular telephone.

        18.    The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        19.    Each of the aforementioned calls made by Defendant constitutes a violation of the

TCPA.

        20.    As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call placed in violation of the

TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
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       21.     As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                   PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                  1. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                  2. Punitive damages against Defendant; and

                  3. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: February 25, 2014


                                             Respectfully submitted,

                                             By: /s/ Sergei Lemberg, Esq.
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